Case 1:23-mi-99999-UNA Document 2906-3 Filed 09/08/23 Page 1 of 4

Department of Homeland Security .
U. 5. Citizenship and Immigration Services Form I- ITC, Notice of Action

THIS NOTICE DOES NOT GRAN TANY I MMIGRATION STATUS OR BENEFIT.

NOTICE TYPE NOTICE DATE

Receipt November 09, 2020
CASE TYPE USCS ALIEN NUMBER
1-485, Application to Register Permanent Residence or Adjust Status AXXXXXXXX
RECERPT NUMBER RECEIVED DATE PAGE

MSC? 190191839 October 05, 2020 lofi

PRIORITY DATE PREFERENCES CLASSIFICATION DATE OF BIRTH

Oclober. 05, 2020 Immediate Relative of U.S, cilizen. September 08, 1987

PAYMENT INFORMATION:
RACHAEL ©. LUCKY

595 RIVERSIDE PKWY APT 508 43. 00003287 , Apptication/Petition Fee; 31,140.00
AUSTELL, GA 30168 Biometrics Fee: $85.00
Total Amount Received: $1,225.00

Tetal Balance Due: §6,00
gL MegfongaglyEgLfyetedfofadeg ff flyaPtbteag yg ELEN egfong| _,

NAME AND MAILING ADDRESS

We have received your form and are currently processing (he above case. If this notice contains a priority date, this priority does iol reflect earlier
retained priority dates. We will notify you separately about any other case you filed.

If we determine you must submit biometrics, we will mail you a biometrics appointment notice with the time and place of your appointment.

Tf you have questions or need to update your personal information listed above, please visit the USCIS Conlact Center webpage at
usuis,“ov/contectcenter to connect with a live USCIS representative in English or Spanish.

USCIS Office Address: USCIS Contact Center Number:

USCIS (809)375-5283
National Benefits Center
I

iss Sumi MO 6400 Ce

IAC

Ee

Case 1:23-mi-99999-UNA Document 2906-3 Filed 09/08/23 Page 2 of 4

Department of Homeland Security .
U. S. Citizenship and Immigration Services Form I T9TC, Notice of Ac,

THIS NOTICE DOES NOT GRANT ANY IMMIGRATION STATUS OR BENEFIT.

NOTICE TYPE NOTICE DATE
Receipt November 09, 2020
CASE TYPE USCIS ALIEN NUMBER
1-485. Application to Register Permanent Residence or Adjust Status AXXXXXXXX
RECEIPT NUMBER RECEIVED DATE PAGE
MSC2 190191851 October 05, 2020 lofi
PRIORITY DATE PREFERENCE CLASSIFICATION DATE OF BIRTH
October 05, 2020 Trmediate Relative of US. citizen September 10. 2014
PAYMENT INFORMATION:
DIVINE WN. LUCKY
595 RIVERSIDE PKWY APT 508 43 00003298 . Application/Petition Pee: $750.00
AUSTELL, GA 30168 Total Amount Received: $750.00
Total Balance Due: $0.60

Wana Dana Da eea EN eg Le Dee DDT feet eyed yy pot Hla

NAME AND MAILING ADDRESS

We have received your form and are currently processing the above case. If this notice contains a priority date, this priorily does not reflect earlier

retained priority dates. We will notify you separately about any other case you filed.
If we determine you must submit biometrics, we will mail you a biometrics appointment notice wilh the tune and place of your appointment.

If you have questions or need to update your personal information listed above, please visil he USCIS Contact Center webpage at
uscis.eov/conlaclcenter to connect with a live USCIS representative in English or Spanish.

USCIS Office Address: USCIS Contact Center Number:

USCIS (800)3 75-5283
National Benefits Center

Lets Sumani MO. 602 ce

TA
Case 1:23-mi-99999-UNA Document 2906-3 , Filed 09/08/23 Page 3 of 4

Department of Homeland Security : :
US. Citizenship and Immigration Services Form 1-797C, Notice of Action

THIS NOTICE DOES NOT GRANT ANY EMMIGRATION STATUS OR BENEFIT.

NOTICE TYPE NOTICE DATE

Receipt November 09, 2620
GASE TYPE USCIS ALIEN NUMBER
J-485, Application 1o Register Permanent Residence or Adjust Status A219638 138
RECEIPT NUMBER RECEIVED BATE PAGE
MSC2190191843 October 05, 2020 Lof 1

PRIORITY SATE PREFERENCE CLASSIFICATION DATE OF BIRTH
Oclober 05, 2020 Immediate Relative of U.S, citizen April 07, 2009

PAYMENT INFORMATION:
FAVOUR GC. LUCKY

595 RIVERSIDE PKWY APT 508 43 00003293 Application/Petition Fee: = 3750.00
AUSTELL, GA 30168 ‘Total Amount Received: $730.00
Total Balance Due: $0.00

UU gf peek ffeegyet enn pe fed egg pegepeg dad fAU peg] Hfecen body

NAME AND MAILING ADDRESS

We have received your form and are currently processing the above case. If this notice contains a priority dale, this priorily does not reflect earlier
retained priority dates. We will notify you separately about any other case you filed.

if we determine you must submit biometrics, we will mail you a biometrics appointment notice with the time and place of your appointment.

Ef you have questions or need to update your personal information listed above, please visit the USCIS Contact Center webpage at
uscis.goy/conlaclcenter to connect with a live USCIS representative in Engtish or Spanish,

USCIS Office Address: USCIS Contact Center Number:

USCTS (80093 75-5283
National Benefils Center

bse Sumit MO 6400 cc

AA

Case 1:23-mi-99999-UNA Document 2906-3 Filed 09/08/23 Page 4 of 4

Department of Homeland Security . .
U. S. Citizenship and Immigration Services Form I T9TC, Notice of Action

THIS NOTICE DOES NOT GRANT ANY IMMIGRATION STATUS OR BENEFIT.

NOTICE TYPE NOTICE CATE
Receipt November 09, 2020
CASE TYPE USGIS ALIEN NUMBER
1-485, Application to Register Permanent Residence or Adjust Status AXXXXXXXX
RECEIPT NUMBER RECEIVED DATE PAGE
MSC2 19019 [847 October 05, 2020 Lof |
PRIORITY DATE PREFERENCE CLASSIFICATION DATE OF BIRTH
October 05, 2020 Immeciafe Relative of US, citizen December 05, 2012
PAVMMENT INFORMATION:
ISIOMA L. LUCKY
595 RIVERSIDE PKWY APT 508 43 00003296 Application/Petition Fee; = $750.00
AUSTELL, GA 30168 0 Total Amount Received: $750.00
Total Balance Due: $0.00

UN rete a Ee TP dpe

NAMI AND SLALLING ADDRESS

We have received your form and are currently processing tle above case. If this notice contains a priorily date, this priority does not reflect earlier
retained priority dates. We will notify you separately ahout any other case you filed.

If we determine you imust submit biometrics, we will mail you a biometrics appointinent notice with the time and place of your appointment,

If you have questions or need to update your personal information listed above, please visit the USCIS Contact Center webpage at
uscis.pov/contacicenter to connect with a live USCIS representative in English or Spanish.

USCIS Office Address: USCES Contact Center Number:

USCIS (80093 75-5283
National Benefits Center

Les Sumit MO 6402 MCN

=

IAA

